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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


    United States of America,                           Criminal No. 10-59 (DWF/FLN)

                       Plaintiff,
                                                                   MEMORANDUM
    v.                                                        OPINION AND ORDER

    Shane Allen Werlein,

                       Defendant.



Shane Allen Werlein, pro se.

LeeAnn K. Bell, Assistant United States Attorney, United States Attorney’s Office,
counsel for the Government.



                                    INTRODUCTION

         This matter is before the Court on Defendant Shane Allen Werlein’s (“Werlein”)

pro se motion for compassionate release in light of the COVID-19 pandemic.1 (Doc.

No. 80 (“Motion”).) The United States of America (the “Government”) opposes




1
       Werlein also requested that the Court appoint him counsel (Doc. No. 83
(“Request”).) “[T]here is no general right to counsel in post-conviction habeas
proceedings for criminal defendants.” United States v. Craycraft, 167 F.3d 451, 455 (8th
Cir. 1999); Pollard v. Delo, 28 F.3d 887, 888 (8th Cir. 1994). The Court respectfully
denies Werlein’s Request.
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Werlein’s Motion.2 (Doc. No. 85.) For the reasons discussed below, the Court

respectfully denies Werlein’s Motion.

                                    BACKGROUND

       On September 27, 2010, Werlein pled guilty to one count of Production of Child

Pornography, in violation of 18 U.S.C. §§ 2251(a) and 221(e). (Doc. No. 46; see also

Doc. No. 23.) On February 9, 2011, this Court sentenced him to 360 months’

imprisonment to be followed by a lifetime of supervised release. (Doc. No. 61.)

       Werlein is currently incarcerated at Fort Dix FCI in Joint Base MDL, NJ with an

anticipated release date of September 20, 2035. Federal Bureau of Prisons, Inmate

Locator, https://www.bop.gov/inmateloc/ (last visited Jan. 11, 2021). Fort Dix FCI

reports 789 active COVID-19 cases among its inmates and 23 among its staff, 530

inmates and 45 staff who have recovered, and no inmate or staff deaths from the virus.3

Federal Bureau of Prisons, COVID-19: Coronavirus, https://www.bop.gov/coronavirus/

(last visited Jan. 11, 2021). To date, Fort Dix FCI has conducted 2,522 tests for

COVID-19 with 1,471 positive for the virus and 17 tests pending results. Id.

       Werlein now moves for compassionate release on the grounds that he is at

increased risk for severe illness from COVID-19 because he is 51 years old and suffers

from obesity, high blood pressure, chronic cough, kidney problems, a family history of


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      The Court also received and considered Werlein’s reply to the Government’s
opposition. (Doc. No. 86 (“Reply”).)
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      When Werlein filed his Motion, he was incarcerated at Elkton FCI in Lisbon,
Ohio. (Motion at 1.) He has since been transferred. Accordingly, the Court considers
his Motion in the context of his new facility.

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cancer, and psoriasis. (Motion at 2; Reply 3; see also Doc. No. 85-1 at 5-119 (“Medical

Records”) at 22-23.) He also asserts that he takes medicine for a variety of conditions-

one of which lowers his immune system, wears a knee brace, and has had a number of

surgeries. (Motion at 2; Reply at 3-4.) He argues further that despite having been

transferred from Elkton FCI to Fort Dix FCI as a medically vulnerable person, the

situation at Fort Dix FCI is not any better.4 (Reply at 2-3.) Specifically, he asserts that

Fort Dix FCI was ill-equipped to handle the transferred inmates and failed to provide

proper clothing, space to quarantine, or socially distanced housing. (Id. at 2-3.) He

contends that while he was sentenced to prison, he “was not sentenced to death,” and that

being placed in Fort Dix is a form of “cruel and unusual punishment” in violation of the

Eighth Amendment.5 (Id. at 4-5.)

                                      DISCUSSION

       The First Step Act allows the Court to reduce a defendant’s term of imprisonment

if it finds that “extraordinary and compelling reasons warrant such a reduction.”




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        At the beginning of the pandemic, Elkton FCI experienced a large outbreak of
COVID-19 infections. In mid-April 2020, a group of inmates there brought an
emergency habeas action seeking the release of medically vulnerable inmates at the
facility due to the spread of COVID-19 within the facility. See Wilson v. Williams, 4:20
Civ.00794 (N.D. Ohio Apr. 13, 2020). Werlein was included on a list of the medically
vulnerable. See id. at Doc. No. 35. While the district court initially granted the petition,
the Sixth Circuit vacated the decision on June 9, 2020. Wilson v. Williams, 961 F.3d 829,
845 (6th Cir. 2020). Notwithstanding, a number of inmates, including Werlein, were
transferred from Elkton FCI to Fort Dix FCI.
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       Specifically, Werlein alleges violation of the Eighth Amendment through
deliberate indifference to serious medical needs. (Reply at 5-9.)


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18 U.S.C. § 3582(c)(1)(A)(i). Such “extraordinary and compelling reasons” include

(1) medical conditions which diminish the ability of the defendant to provide self-care in

prison and from which he or she is not expected to recover, (2) age-related deterioration,

(3) family circumstances, and (4) other extraordinary and compelling reasons that exist

either separately or in combination with the previously described categories. U.S.S.G.

§ 1B1.13 (“Sent’g Comm’n Pol’y Statement” or “Statement”), cmt. n.1(a)(ii).

       If “extraordinary and compelling reasons” exist, a reduction of sentence is

appropriate when “the defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g)” and “the reduction is consistent with

[the Sentencing Commission’s] policy statement.” Statement. The Court must also

consider the sentencing factors set forth in 18 U.S.C. § 3553(a) “to the extent they are

applicable.” 18 U.S.C. § 3582(c)(1)(A).

       Notwithstanding, a defendant may move for a sentence reduction only after

complying with an exhaustion requirement. 18 U.S.C. § 3582(c)(1)(A). Specifically, a

defendant may move for a sentence reduction “[1] after the defendant has fully exhausted

all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on

the defendant’s behalf or [2] the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier . . . .”6 Id.


6
       Although judicially created exhaustion requirements may sometimes be excused,
no exception applies to a statutory command such as that presented in
Section 3582(c)(1)(A). See Ross v. Blake, 136 S. Ct. 1850, 855-57 (2016) (rejecting
judicially created “special circumstances” exception to the exhaustion requirement
unambiguously stated in the Prison Litigation Reform Act of 1995).


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       The record reflects that sometime prior to its denial on August 5, 2020, Werlein

requested compassionate release from the warden at Elkton FCI. (Doc. No. 85-1.)

Accordingly, the Court finds that his Motion is properly before it.

       After a careful review of Werlein’s Motion and other documentation, including his

Medical Records, the Court finds that his circumstances do not meet the demanding

standard necessary for compassionate release. The Court recognizes that Werlein’s

obesity places him at heightened risk of severe illness should he contract COVID-19.

Centers for Disease Control and Prevention, Coronavirus Disease: People with Certain

Medical Conditions, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last visited Jan. 11, 2020).7

Notwithstanding, the Court finds that this fact alone does not establish an “extraordinary

and compelling” reason to warrant release.8 While it is truly unfortunate that Fort Dix




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        The Centers for Disease Control and Prevention (“CDC”) does not include
Werlein’s other health concerns as medical conditions that increase his risk of severe
infection from COVID-19. See Centers for Disease Control and Prevention, Coronavirus
Disease: People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (last visited Jan. 8, 2021).

       Moreover, while the CDC reports that the risk from COVID-19 increase with age,
it denotes a particular risk for those 65 and older. See Centers for Disease Control and
Prevention, Older Adults, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/older-adults.html (last visited Jan. 8, 2020). Here, Werlein is just 51 years
old.
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        There is no indication that Werlein is unable to provide self-care while in prison,
or that the medical staff at his facility will be unable to care for him should he contract
COVID-19.


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FCI did not provide the safe refuge for transfers from Elkton FCI and that it is currently

enduring an outbreak of COVID-19, the facility has so far been able to effectively treat

the ill and to prevent any death.9 Moreover, Fort Dix FCI continues to employ measures

to mitigate the spread of the virus.10

       Even if Werlein did present an extraordinary and compelling reason to warrant

release, the Court cannot overlook Werlein’s criminal history or BOP disciplinary history

to conclude that he no longer poses “a danger to the safety of any other person or the

community.”11 Statement. The Court also finds that the § 3553(a) sentencing factors

weigh strongly against release. 18 U.S.C. § 3553(a). Having served less than half of his


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       The Court is unpersuaded by Werlein’s Eighth Amendment violation claims. The
presence of COVID-19 in a prison, even in large numbers, is not tied to poor medical
care, but to the fact that the entire world is in the midst of a pandemic. Laudably, Fort
Dix FCI has so far been able to prevent mass casualty through adequate provision of
medical care.
10
        The Court notes that effective March 13, 2020, the BOP required all of its
facilities to implement a set of measures “to mitigate the spread of the COVID-19” and
“to ensure the continued effective operation of the federal prison system.” See Federal
Bureau of Prisons, BOP COVID-19 Action Plan,
https://www.bop.gov/resources/news/20200313_covid-19.jsp (last visited Jan. 6, 2021).
Those steps include limiting visits and internal movement, increased hygiene measures,
and screening of both staff and inmates. (Id.) The BOP periodically updates its Plan and
is currently in Phase Nine. Federal Bureau of Prisons, Coronavirus (COVID-19) Phase
Nine Action Plan, https://prisonology.com/wp-content/uploads/2020/08/COVID-19-
Phase-9-COVID-Action-Plan.pdf. (last visited Jan. 11, 2021).

        The BOP is also exercising greater authority to designate inmates for home
confinement. Federal Bureau of Prisons, COVID-19: Coronavirus,
https://www.bop.gov/coronavirus/ (last visited Jan. 11, 2021). Since March, the BOP has
transferred more than 20,000 inmates to home confinement. Id.
11
       On six separate occasions while in prison, Werlein was found in possession of
prohibited materials. (See Doc. No. 82.)


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sentence, the Court cannot conclude that such a significant sentence reduction would

adequately address the seriousness of the charges of Werlein’s conviction, promote

respect for the law or provide a just punishment.

       It is truly unfortunate that so many individuals at Fort Dix FCI have been infected

with COVID-19. Sadly, until there is a vaccine, some level of continued spread is

inevitable. In spite of the risk, the BOP must continue to carry out its charge to

incarcerate sentenced criminals to protect the public and any release must be balanced

against the danger it poses to society. Here the factors weigh strongly against release.

                                     CONCLUSION

       For the reasons set forth above, the Court finds that Werlein’s circumstances are

insufficiently “extraordinary and compelling” to warrant compassionate release.

Moreover, the Court finds that release is inappropriate because it cannot conclude that

Werlein no longer poses a threat to society and because the § 3553(a) factors weigh

against release.

                                         ORDER

       Based upon the foregoing, and on all the files, records, and proceedings herein, IT

IS HEREBY ORDERED that Defendant Shane Allen Werlein’s styled motion for

compassionate release in light of the COVID-19 pandemic (Doc. No. [80]) and his

request for appointment of counsel (Doc. No. ([83]) are respectfully DENIED.


Date: January12, 2021                               s/Donovan W. Frank
                                                    DONOVAN W. FRANK
                                                    United States District Judge



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